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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                         GREAT FALLS DIVISION

 UNITED STATES OF AMERICA,                        CR 15-82-GF-BMM

                     Plaintiff,                          ORDER

 vs.

 PAIGE LARANN DEMARCE,

                     Defendant.

       This case was referred to United States Magistrate Judge John Johnston for a

revocation hearing and findings and recommendations. Judge Johnston entered his

findings and recommendations on July 11, 2016. Defendant admitted she had

violated the conditions of her supervised release by using controlled substances.

Judge Johnston found the admission sufficient to establish the supervised release

violation. He recommended that this Court revoke Defendant's supervised release

and commit her to the custody of the United States Bureau of Prisons for a term of

imprisonment of time served (seven days), with three years of supervised release to

follow.

       No objections were filed by either party. Judge Johnston’s findings

and recommendations are therefore reviewed for clear error. McDonnell

Douglas Corp. Commodore Bus. Mach, Inc., 656 F.2d 1309, 1319 (9th Cir.
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1981).

      This Court agrees with Judge Johnston’s findings. Defendant admitted she

had violated the conditions of her supervised release by using controlled

substances. A sentence of time served, followed by three years of supervised

release is appropriate. The sentence is sufficient but not greater than necessary.

         IT IS ORDERED that Judge Johnston’s Findings and Recommendations

(Doc. 74) are ADOPTED in full and Judgment shall be entered accordingly.

      DATED this 11th day of August, 2016.




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